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                                               Exhibit C

                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF MISSISSIPPI
                                        NORTHERN DIVISION

 PHI THETA KAPPA HONOR SOCIETY,                        )
                                                       )
          Plaintiff/Counter-Defendant                  )   Civil Action No. 3:22-cv-00208-CWR-RPM
                                                       )
 v.                                                    )
                                                       )
 HONORSOCIETY.ORG, INC.,                               )
                                                       )
         Defendant/Counter-Plaintiff                   )
         /Third-Party-Plaintiff                        )
                                                       )
 HONOR SOCIETY FOUNDATION, INC.,                       )
                                                       )
         Defendant                                     )
                                                       )
 ----------------------------------------------------- )
                                                       )
 HONORSOCIETY.ORG, INC.,                               )
                                                       )
         Defendant/Counter-Plaintiff                   )
         /Third-Party-Plaintiff                        )
                                                       )
 v.                                                    )
                                                       )
 DR. LYNN TINCHER-LADNER,                              )
                                                       )
         Third-Party Defendant                         )

              SUPPLEMENTAL DECLARATION OF W. MICHAEL ETIENNE

        I, W. Michael Etienne, upon my personal knowledge, hereby submit this declaration

pursuant to 28 U.S.C. § 1746 and declare as follows:

        1.       I am counsel of record for Phi Theta Kappa Honor Society (“PTK”), and Dr. Lynn

Tincher-Ladner in this action.

        2.       On December 5, 2024, PTK was notified that Honor Society continues to distribute

a survey titled “Community College Honor Societies Survey,” which has the same title as the
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survey Honor Society distributed to hundreds-of-thousands of PTK members and potential

members in March of 2024. Although, I understand that a change has been made to the survey so

that, at its conclusion, it directs recipients to many of the very same webpages subject of the

Court’s Second Preliminary Injunction Order and PTK’s Motion for Contempt and Sanctions. It

appears that Honor Society is attempting to maximize the number of PTK’s members and potential

members that are exposed to its disparaging, misleading, and contemptuous webpages regarding

PTK, Dr. Tincher-Ladner, and this lawsuit while PTK’s motion seeking sanctions and a finding of

contempt are pending before this Court.

       3.       A PTK member who received the survey reached out to her PTK chapter advisor

stating, “I am a member of PTK and I got an email from ‘honorsocietysurvey@gmail.com’ and

was asked to complete a survey about honor society. The survey was normal, but when I finished

and went to submit it, I was redirected to a google search page about ‘Phi Theta Kappa Lawsuit’ I

just wanted to reach out and make you aware that this survey is contacting members and redirecting

them to this.” Exhibit C-1 is a true and correct copy of the email sent by the student to the chapter

advisor, which was forwarded to PTK, all on December 5, 2024. Exhibit C-1 shows that the student

took the survey on November 29, 2024.

       4.      Exhibit C-2 is a true and correct copy of the Google search page that appears when

“Phi Theta Kappa Lawsuit” is searched in Google, as accessed on December 6, 2024. From Exhibit

C-1, I understand this is the Google search page to which survey recipients are being redirected

when they finish the survey.

       5.      Exhibit C-3 is a true and correct copy of one of the seven Honor Society webpages

that appears on the “Phi Theta Kappa Lawsuit” Google search page referenced as Exhibit C-2.

This webpage is nearly identical to the Exhibit A-7 of the Etienne Declaration (Ex. 242-1) filed in




                                                 2
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connection with PTK’s Motion for Contempt and Sanctions. While the font size of the disclaimer

has been slightly increased, the disclaimer does not appear at the top of the webpage, which is a

violation of the Second Preliminary Injunction Order. See ECF No. 230 at 26.

       6.      Exhibit C-4 is a true and correct copy of another of the seven Honor Society

webpages that appears on the “Phi Theta Kappa Lawsuit” Google search page referenced as

Exhibit C-2. This webpage is nearly identical to the Exhibit A-5 of the Etienne Declaration (Ex.

242-1) filed in connection with PTK’s Motion for Contempt and Sanctions. Again, while the font

size of the disclaimer has been slightly increased, the disclaimer does not appear at the top of the

webpage, which is a violation of the Second Preliminary Injunction Order. See ECF No. 230 at 26.

       7.      Exhibit C-5 is a true and correct copy of another of the seven Honor Society

webpages that appears on the “Phi Theta Kappa Lawsuit” Google search page referenced as

Exhibit C-2. This webpage is nearly identical to the Exhibit A-2 of the Etienne Declaration (Ex.

242-1) filed in connection with PTK’s Motion for Contempt and Sanctions. In Exhibit A-2, the

targeted school is Hinds Community College. In Exhibit C-5, the targeted school is Ivy Tech

Community College. While the font size of the disclaimer has been slightly increased and now

appears at the top of the webpage, Honor Society has still minimized the effect of the disclaimer

by making the font size of the surrounding text (which is misleading) significantly larger than the

disclaimer. This defeats the purpose of the disclaimer, which was ordered to address the

surrounding misleading text.

       8.      Exhibit C-6 is a true and correct copy of another of the seven Honor Society

webpages that appears on the “Phi Theta Kappa Lawsuit” Google search page referenced as

Exhibit C-2. Again, the disclaimer does not appear at the top of the webpage.




                                                 3
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       9.      Exhibit C-7 is a true and correct copy of another of the seven Honor Society

webpages that appears on the “Phi Theta Kappa Lawsuit” Google search page referenced as

Exhibit C-2. Again, the font size of the surrounding text (which is misleading) is significantly

larger than the disclaimer. This defeats the purpose of the disclaimer, which was ordered to address

the surrounding misleading text.

       10.     Exhibit C-8 is a true and correct copy of another of the seven Honor Society

webpages that appears on the “Phi Theta Kappa Lawsuit” Google search page referenced as

Exhibit C-2. This appears to be a landing page on Honor Society Foundation’s website that lists

approximately 1250 AI-generated webpages associated with the community colleges at which

PTK has chapters. Each of the 1250 AI-generated webpages appear to be nearly identical to the

Exhibit A-2 of the Etienne Declaration (Ex. 242-1) filed in connection with PTK’s Motion for

Contempt and Sanctions – except that the school is different in each instance. Exhibit C-9 is a true

and accurate copy of one example of the approximately 1250 AI-generated webpages. As

exemplified by Exhibit C-9, for each of the approximately 1250 AI-generated webpages, while the

font size of the disclaimer now appears at the top of the webpage, Honor Society has still

minimized the effect of the disclaimer by making the font size of the surrounding text (which is

misleading) significantly larger than the disclaimer. This defeats the purpose of the disclaimer,

which was ordered to address the surrounding misleading text.

       11.     Exhibit C-10 is a true and correct copy of another of the seven Honor Society

webpages that appears on the “Phi Theta Kappa Lawsuit” Google search page referenced as Ex.

C-2. This webpage is nearly identical to the Exhibit A-4 of the Etienne Declaration (Ex. 242-1)

filed in connection with PTK’s Motion for Contempt and Sanctions. While the font size of the

disclaimer has been slightly increased and now appears at the top of the webpage, Honor Society




                                                 4
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has still minimized the effect of the disclaimer by making the font size of the surrounding text

(which is misleading) significantly larger than the disclaimer. This defeats the purpose of the

disclaimer, which was ordered to address the misleading surrounding text.

        12.    On December 5, 2024, I received a link to the Community College Honor Societies

Survey. Exhibit C-11 is a true and accurate copy of the email I received providing access to the

survey. Exhibits C-12, C-13, C-14, and C-15, collectively, are a true and accurate copy of the

Community College Honor Societies Survey, as accessed on December 7, 2024.

        13.    On December 7, 2024, when Taft counsel accessed the survey, at the conclusion of

the survey, we were redirected to a Google search page with the phrase “phi theta kappa false

advertising” populated in the Google search bar. This is a slightly different Google search page

than the student reported being redirected to when she completed the survey on November 29.

That said, it is no less problematic. It may be that Honor Society recently updated the operation of

the survey to redirect recipients to the “phi theta kappa false advertising” Google search page,

rather than the “Phi Theta Kappa Lawsuit” Google search page. In any event, the results are

similar. Exhibit C-16 is a true and accurate copy of the “phi theta kappa false advertising” Google

search page, which Taft counsel was redirected to at the conclusion of the survey on December 7,

2024.

        14.    Exhibit C-17 is a true and accurate copy of one of the six Honor Society webpages

that appears on the “phi theta kappa false advertising” Google search page referenced as Exhibit

C-16. This webpage is nearly identical to the Exhibit A-6 of the Etienne Declaration (Ex. 242-1)

filed in connection with PTK’s Motion for Contempt and Sanctions. While the font size of the

disclaimer has been slightly increased, the disclaimer does not appear at the top of the webpage,

which is a violation of the Second Preliminary Injunction Order. See ECF No. 230 at 26.




                                                 5
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Additionally, Honor Society has minimized the effect of the disclaimer by making the font size of

the surrounding text (which is misleading) significantly larger than the disclaimer. This defeats the

purpose of the disclaimer, which was ordered to address the surrounding misleading text.

       15.     Exhibit C-18 is a true and accurate copy of another of the six Honor Society

webpages that appears on the “phi theta kappa false advertising” Google search page referenced

as Exhibit C-16. This webpage is nearly identical to the Exhibit A-16 of the Etienne Declaration

(Ex. 242-1) filed in connection with PTK’s Motion for Contempt and Sanctions. While the font

size of the disclaimer has been slightly increased, the disclaimer does not appear at the top of the

webpage, which is a violation of the Second Preliminary Injunction Order. See ECF No. 230 at 26.

       16.     Exhibit C-19 is a true and accurate copy of another of the six Honor Society

webpages that appears on the “phi theta kappa false advertising” Google search page referenced

as Exhibit C-16. This webpage is nearly identical to the Exhibits B-7(a), B-8(a), B-9(a) of the

Etienne Declaration (Ex. 261-1) filed in connection with PTK’s Reply in support of Motion for

Contempt and Sanctions. The targeted school is different in each instance. In Exhibit C-19, the

targeted school is Salem Community College. While the font size of the disclaimer has been

slightly increased and appears at the top of the webpage, Honor Society has still minimized the

effect of the disclaimer by making the font size of the surrounding text (which is misleading)

significantly larger than the disclaimer. This defeats the purpose of the disclaimer, which was

ordered to address the surrounding misleading text.

       17.     Exhibit C-20 is a true and correct copy of another of the six Honor Society

webpages that appears on the “phi theta kappa false advertising” Google search page referenced

as Exhibit C-16. This webpage targets Jackson College, Central Campus and is hosted by the

Honor Society Museum. PTK was not aware of this particular version of Honor Society’s AI-




                                                 6
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generated content at the time of the second preliminary injunction proceedings; however, it is more

of the same misleading content (e.g., “Recent developments have unveiled a lawsuit against PTK,

highlighting alarming allegations of false advertising and monopolistic practices.”). The smear

campaign continues.

       18.     Exhibit C-21 is a true and correct copy of another of the six Honor Society

webpages that appears on the “phi theta kappa false advertising” Google search page referenced

as Exhibit C-16. This webpage is nearly identical to the Exhibit A-30 of the Etienne Declaration

(Ex. 242-1) filed in connection with PTK’s Motion for Contempt and Sanctions. While the font

size of the disclaimer has been slightly increased and now appears at the top of the webpage, Honor

Society has still minimized the effect of the disclaimer by making the font size of the surrounding

text (which is misleading) significantly larger than the disclaimer. This defeats the purpose of the

disclaimer, which was ordered to address the surrounding misleading text.

       19.     Exhibit C-22 is a true and correct copy of another of the six Honor Society

webpages that appears on the “phi theta kappa false advertising” Google search page referenced

as Exhibit C-16. In this webpage hosted by Honor Society Museum, Honor Society has minimized

the effect of the disclaimer by making the font size of the surrounding text (which is misleading)

significantly larger than the disclaimer. This defeats the purpose of the disclaimer, which was

ordered to address the surrounding misleading text.

       I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


       Executed on this 9th day of December 2024.
                                                             /s/ W. Michael Etienne
                                                             W. Michael Etienne
                                                             Attorney
                                                             Taft Stettinius & Hollister LLP



                                                 7
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                      EXHIBIT C-1


                    FILED WITH REDACTIONS
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                       Case 3:22-cv-00208-CWR-RPM                                                Document 328-1   Filed 12/09/24   Page 10 of 133




From: Fredrica Tyes (Phi Theta Kappa Member Services) <member.services@ptk.org>
Sent: Thursday, December 5, 2024 10:26 AM
To: Heather Allen <heather.allen@ptk.org>
Subject: [Phi Theta Kappa] Assignment: Question

----------------------------

You have been assigned to this ticket (#295398).




                Fre d rica T ye s (Phi Theta Kappa)

                Dec 5, 2024, 10:25 'a0AM CST


                    Private note

                Hi Heather! Sending this your way. If there is something we need to say please let me know. It would be great to have some talking points.




                K             P

                Nov 29, 2024, 5:59 'a0PM CST

                Hi! I am a member of PTK and I got an email from "honorsocietysurvey@gmail.com" and was asked to complete a survey about honor society. The
                survey was normal, but when I finished and went to submit it, I was redirected to a google search page about "Phi Theta Kappa Lawsuit"
                I just wanted to reach out and make you aware that this survey is contacting members and redirecting them to this.



Y ou are an agent. Add a comment by reply ing to this email or view ticket in Zendesk Support.


   T icke t # 295398
      Sta tus Solved
R e q ue ste r K     P
         CCs -
    G roup Key/Membership Services
  Assigne e Heather Allen
    P riority -
       T yp e Incident
   Cha nne l By Mail




This email is a service from Phi Theta Kappa.

[PM6YNL-5K60M]Ticket-Id:295398Account-Subdomain:ptk
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                      EXHIBIT C-2
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                                 EgZjaHJvbWUyBggAEEUYOTIHCAEQIRiPAjIHCAIQIRiPAtIBCDUyMTJqMGoxqAIA
                                 sAIA&sourceid=chrome&ie=UTF-8

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                                 Chrome/126.0.6478.234 Safari/537.36

Operating system:                Linux (Node 20.17.0)

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            >     Aloverview                                                                                                                                                     Learn more

            The Phi Theta Kappa (PTK) Honor Society is involved in a lawsuit
            against HonorSociety.org:
                                                                                                                                  Phi Theta Kappa Honor Soc'y v.
                                                                                                                                  HonorSociety.org. - Casetext
            Claim                                                                                                                 Aug 22, 2024 — In short, PTK's Motion seeks an
            PTK claims that HonorSociety.org's online actions constitute tortious                                                 injunction enjoining Honor Society from posting these..
            interference with contractual relations under Mississippi law.                                                        ® Casetext
            Defense
            HonorSociety.org argues that all the information is truthful and that PTK                                             About PTK - Phi Theta Kappa
            cannot show how it has suffered any harm                                                                              On November   19,   1929,   the American   Association of




                                                            Show more Vv



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                    https:j/casetext.com
                                      > ... » SD MS» 2024
                                                       > August}
            Phi Theta         Kappa        Honor Soc'y v. HonorSociety.org.
            Aug 22, 2024 — The Court finds that the plaintiffs' Motion for a Temporary
            Restraining Order, Preliminary Injunction and/or Gag Order should be granted in pa...

             @ Honor society
                https://www.honorsociety.org > articles > phi-theta-kappa...
            Phi Theta         Kappa        Legal Issues: What Students and ...
            Jun 4, 2024 — Misleading "Top 10%" Claims: The lawsuit claims PTK falsely asserts
            that students invited to join are in the "Top 10%"             of their class. In ...




            People also ask                   :

            What is the controversy with Phi Theta Kappa?                                                                v

            Is Phi Theta Kappa reputable?                                                                                v

            Does everyone get invited to Phi Theta Kappa?                                                                v

            Does Phi Theta Kappa look good on a resume?                                                                  v
                                                                                                                    Feedback



             mm     PRNewswire
                    https://www.prnewswire.com > news-releases > honor-so...
            Honor Society®                Sues Phi Theta              Kappa Over Deceptive ...
            May 9, 2024 — Filed in the Southern District of Mississippi, the suit alleges that
            PTK's practices deceive students, educational institutions, and employers.

              a     Phi Theta Kappa Honor Society
                    https://www.ptk.org > phi-theta-kappa-sues-las-vegas-c....
            Phi Theta         Kappa        Honor Society Sues Las Vegas Company                               ...
            The lawsuit alleges that HonorSociety.org, a for-profit enterprise, has knowingly and
            willfully violated PTK registered trademarks.

             @ Honor society
                https://www.honorsociety.org > articles > phi-theta-kappa...




Document title: phi theta kappa lawsuit - Google Search
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            o      PR Newswire
                   https://www.prnewswire.com > news-releases > honorso...
            Honor Society®               Sues Phi Theta              Kappa Over Deceptive ...
            May 9, 2024 — Filed in the Southern District of Mississippi, the suit alleges that
            PTK's practices deceive students, educational institutions, and employers.

             a     Phi Theta Kappa Honor Society
                   https://www.ptk.org > phi-theta-kappa-sues-las-vegas-c....
            Phi Theta        Kappa        Honor Society Sues Las Vegas Company                    ...
            The lawsuit alleges that HonorSociety.org, a for-profit enterprise, has knowingly and
            willfully violated PTK registered trademarks.

            @ Honor society
               https://www.honorsociety.org > articles > phi-theta-kappa...
            Phi Theta        Kappa        Lawsuit: Uncovering Alleged Deceptive ...
            Jun 8, 2024 — A federal lawsuit filed by Honor Society® accuses PTK and its CEO,
            Lynn Tincher-Ladner, of engaging in deceptive practices and attempting to ...

            fm     Linkedin « Honor society®
                   6 reactions 5 months ago
            Phi Theta        Kappa: Shocking Allegations & Unmasking the ...
            Accusations of deceptive practices, monopolistic behavior, and unethical conduct
            have been brought to light in a recent lawsuit filed by Honor Society.

            @      ere Society Foundation
                   https:/fhonorsocietyfoundation.org > phi-theta-kappa-la....   $
            Phi Theta        Kappa        Lawsuit:        PTK Deceptive Practices and ...
            May 17, 2024 — The lawsuit, filed in the Southern District of Mississippi, accuses
            PTK of deceptive practices and attempting to monopolize the community ...

                   HonorSociety.com
                   https://honorsociety.com > phi-theta-kappa-ivy-tech-co...
            Phi Theta        Kappa Warning!                Caution at lvy Tech Community

            Jul 18, 2024 — The lawsuit raises serious concerns about false advertising and
            monopolistic practices. PTK is accused of falsely claiming members are in the “Top...

                   Honor Society Museum
                   https://honorsocietymuseum.org > phi-theta-kappa-is-su...         #
            Phi Theta        Kappa        Is Sued: Disturbing Deceptive Practices ...
            May 17, 2024 — This lawsuit alleges deceptive practices and monopolistic
            strategies executed by PTK and its CEO, Lynn Tincher-Ladner.


            @      fer Society Foundation
                   https://honorsocietyfoundation.org > tag > ptk-lawsuit
            PTK Lawsuit
            Honor Society Foundation Inc., and its president Michael Moradian were sued in
            federal court by PTK on April 20, 2022 for False Designation of Origin




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                      EXHIBIT C-3
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Document title:                  Phi Theta Kappa Legal Issues: What Students and Educators Need to Know | Honor
                                 Society - Official Honor Society® Website

Capture URL:                     https://www.honorsociety.org/articles/phi-theta-kappa-legal-issues-what-students-
                                 and-educators-need-know

Page loaded at (UTC):            Fri, 06 Dec 2024 17:16:52 GMT

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Capture tool:                    10.54.0

Collection server IP:            54.145.42.72

Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
                                 Chrome/126.0.6478.234 Safari/537.36

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                 Phi Theta Kappa Legal Issues:                                                            What                                             asovr
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                 Jun 04,2024

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                                                                                                                                                       Linda Abraham, Founder of
                                                                                                                                                      Accepted.com, discusses the
                                                                                                                                                        Importance of Leadership
                                                                                                                                                                Qualities


                                                                                                                                                    YOU CAN'T HAVE
                 Disclaimer: The author of this article is not a neutral party in the referenced litigation. HonorSociety.org Inc., Honor           DOLLAR DREAMS WIT!
                 Society Foundation nc, and its president Michael Moradian were sued in federal court by PTK on April 20, 2022 for                  MINIMUM WAGE WORK
                 False Designation of Origin, Trade Dress infringement, and Unfair Competition. Honor Society and Michael Moradian
                 countersued and are presently defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims                                          e
                 made regarding this case are just allegations against the parties.
                                                                                                                                                      Work Ethics (in a Preschool)


                 Phi Theta Kappa (PTK), the prominent honor society for community college students, is under legal
                 scrutiny following a federal lawsuit that accuses the organization of deceptive practices and monopolistic
                 behavior. Filed by Honor Society® in the Southern District of Mississippi, the lawsuit alleges that PTK's
                 practices mislead students, educational institutions, and employers. Here's a detailed look at the
                 allegations and what they mean for the community college sector.
                 Key Allegations
                 The lawsuit brings several serious charges against PTK and its CEO, Lynn Tincher-Ladner. The primary
                 allegations include:
                    1. Misleading "Top 10%" Claims: The lawsuit claims PTK falsely asserts that students invited to join are
                       in the "Top 10%" of their class. In reality, PTK's criteria allow a much larger percentage of students to
                       qualify, misleading them about the exclusivity of the honor society. For example, at Oakton
                      Community College, 44% of students meet PTK's GPA standard, far exceeding the top 10%.                                                                      Hi, Need any help?
                                                                                                                                                     Preparation for Next Semester
                    2. Questionable Letters of Recommendation: PTK is accused of issuing letters of recommendation
                                          .                                                                      .
                                                               A the member is in. the top 10% at their school without                              (A.K.A How to Have a Stress-Free           @
                      signed by CEO Lynn Tincher-Ladner, claiming                                                                                             Winter Break)                       ‘
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   Grnstedsite        any factual basis. This practice allegedly deceives students. colleges. and emplovers about the merit of


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                  2. Questionable Letters of Recommendation: PTK is accused of issuing letters of recommendation
                                         .              oe                a                                 .                                      (A.K.A How to Have a Stress-Free
                    signed by CEO Lynn Tincher-Ladner, claiming the member is in the top 10% at their school without
                                                                                                                                                            Winter Break)
                    any factual basis. This practice allegedly deceives students, colleges, and employers about the merit of
                    PTK membership.
                  3, Dubious Scholarship Promotions: The lawsuit alleges PTK promotes access to $246 million in                                              FoLtow us
                     exclusive scholarships, which are actually broadly available transfer scholarships. This
                    misrepresentation allegedly leads students to pay for PTK membership under false pretenses. PTK                                 Posts from
                                                                                                                                                   @HonorSociety
                    also claims its "average member gets $2,500 a year” in scholarships, which is disputed in the lawsuit.
                  4. Anticompetitive Tactics: The lawsuit highlights PTK's alleged attempts to monopolize the                                          X
                    community college honor society market through aggressive and deceptive practices. This includes
                    falsely claiming to be the “only official" honor society and selling members’ personal information
                    without their consent.
                                                                                                                                                       Nothing to
              Educational Institutions' Perspee
                                                                                                                                                      see         here           -
             Educational institutions that partner with PTK might need to reassess their affiliations and ensure they                                 yet
             are not inadvertently supporting misleading practices. The lawsuit encourages colleges to scrutinize Phi                                 When they post, their posts
                                                                                                                                                      will show up here.
             Theta Kappa and verify the claims they make to students.
              Broader Educational                Implic
             This lawsuit against PTK serves as a wake-up call for all honor societies and educational organizations. It
             underscores the importance of transparency, ethical behavior, and accountability in practices that
                                                                                                                                                              Facebook
             significantly affect students’ futures.
             St    ying Informed
             As the lawsuit unfolds, staying informed about its developments is crucial. This case highlights the need
             for students, educators, and institutions to be vigilant about the practices of organizations they engage
             with.
             For detailed information about the lawsuit, you can read the full details here.
             Conclusion
             This lawsuit is a crucial step towards ensuring that such organizations operate transparently and ethically.
             Students and educators must stay informed and advocate for practices that genuinely refiect the values
             of academic excellence and honesty.


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              distinct and pioneering honors organization, we're relentlessly committed to providing the                          CR ears Re eg ee
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                                 Monopolization | Honor Society - Official Honor Society® Website

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               Alleged Deceptive Practices and                                                                                                      °
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               Jun 08,2024                                                                                                                   HonorSociety.org Member Services
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                                                                                                                                               Everything You Need to Know
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               Disclaimer: The author of this article is not a neutral party in the referenced litigation. HonorSociety.org Inc., Honor
               Society Foundation nc, and its president Michael Moradian were sued in federal court by PTK on April 20, 2022 for              Which Majors Have Been Most
               False Designation of Origin, Trade Dress Infringement, and Unfair Competition. Honor Society and Michael Moradian                Impacted by Modern Tech?
               countersued and are presently defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims
               made regarding this case are just allegations against the parties.



               Phi Theta Kappa (PTK),a known organization for community college students, is currently facing a
               significant legal challenge.A federal lawsuit filed by Honor Society® accuses PTK and its CEO, Lynn
               Tincher-Ladner, of engaging in deceptive practices and attempting to monopolize the community college
               honor society market. This article delves into the key allegations and their potential impact on students
               and educational institutions.

               The Allegations
               The lawsuit, filed in the Southern District of Mississippi, outlines several troubling practices allegedly
               masterminded by PTK's leadership. Here are the main points:                                                                     Breaking Down Barrie!
                   1.False "Top 10%" Claims: PTK is accused of falsely claiming in solicitations that invited students are in               Colleges are Increasing Inclusion
                    the "Top 10%" of their class. The criteria set by PTK allow a much higher percentage of students to                           for Marginalized Groups
                                                                                                                                                                    >      -Hi. Need any help?
                    qualify, misleading many about the exclusivity of PTK membership. For example, at Oakton
                    Community College, 44% of students meet PTK's 3.5+ GPA standard,      far exceeding the actual "Top
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                    10%".
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                      qualify, misleading many about the exclusivity of PTK membership. For example, at Oakton
                      Community College, 44% of students meet PTK's 3.5+ GPA standard,
                                                                                 far exceeding the actual "Top
                      10%",                                                                                                                       FOLLOW us

                    2. Alleged Fraudulent Letters of Recommendation: The lawsuit alleges that PTK issues letters of                        Posts from
                     recommendation, signed by CEO Lynn Tincher-Ladner, falsely claiming that the member is in the top                     @HonorSociety
                      10% of their school. This practice allegedly deceives students, colleges, and employers about the true
                      merit of PTK membership.                                                                                              xX

                    3. Misleading Scholarship Claims: PTK is also accused of promoting exclusive access to $246 million in
                      scholarships, which are actually broadly available university transfer scholarships.
                                                                                                        This
                      misrepresentation leads students to pay for PTK membership under false pretenses. Additionally, PTK                   Nothi ng              to
                      allegedly advertises that its "average member gets $2,500 a year" in transfer scholarships, which is                  see       here         -
                      claimed to be false.
                                                                                                                                            yet
                    4. Anticompetitive Conduct: The lawsuit highlights PTK’s alleged efforts to monopolize the community                    When they post, their posts
                      college honor society market by employing aggressive and deceptive tactics. This includes falsely                     will show up here.
                      claiming to be the “only official” honor society and selling members’ personal information without
                      consent.



                  Broad    Awareness                                                                                                               Facebook

               The legal battle against PTK could have far-reaching implications for the purported honor society and its
               members. It raises important questions about transparency and ethical practices within organizations
               that claim to uphold high academic and ethical standards.   The outcome of this lawsuit could prompt
              other educational institutions and academic societies to re-evaluate their practices and ensure they are
               not engaging in similar deceptive tactics.
                  What's Next?
                  As the lawsuit progresses, it will be crucial to monitor its developments and understand how they affect
                  the broader educational community. This case underscores the importance of transparency     and
                  accountability in organizations that hold significant influence over students’ academic and professional
                  futures.
                  For more detailed coverage of the ongoing legal battle, you can read the full lawsuit details here.
                  Conclusion
                  The allegations against Phi Theta Kappa highlight the need for greater scrutiny and transparency in honor
                  societies.As this lawsuit unfolds, it will serve as a critical reminder
                                                                                      of the importance of integrity and
                  accountability in educational organizations. Students and educators alike should stay informed and
                  advocate for practices that truly reflect the values of academic excellence and ethical conduct.


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   federal court by PTKCase
                         on April 3:22-cv-00208-CWR-RPM
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          Foundation Inc.,   and its president Michael Moradian were sued in federal court by PTK on April 20, 2022 for False Designation of                  Se               HonorSociety.org
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          Origin,   Trade Dress Infringement,   and Unfair Competition.   Honor Society and Michael Moradian countersued
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          defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims made regarding this case are just allegations         where you want to go....

          against the parties.                                                                                                                                                                Next »

          Red Alert regarding Phi Theta Kappa at Ivy Tech Community
          College, Marion Campus and the PTK Beta Phi Tau Chapter!                                                                                       RECENT POSTS
          This is a public service announcement and opinion in the interest of                                                                          » Phi Theta Kappa Warning! Caution at
          protecting students and community colleges. This website is not                                                                                Dawson Community College, Glendive
          affiliated with PTK Beta Phi Tau Chapter or Phi Theta Kappa.                                                                                  >Campus,
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          Dear Ivy Tech Community College, Marion Campus Community,                                                                                      Education Center, Alpha Omega Beta
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          We want to inform you about a lawsuit filed against Phi Theta Kappa (PTK), an honor society known across community colleges.                  » Phi Theta Kappa Warning! Caution at
          The lawsuit raises serious concerns about false advertising and monopolistic practices.                                                       City College at MSU, Billings Campus,
          PTK is accused of falsely claiming members are in the “Top 10%” of their class, when the actual percentage is much higher,                     Beta Upsilon Rho Chapter
                                                                                                                                                        > Phi Theta Kappa Warning! Caution at
          misleading potential members.
                                                                                                                                                         Motlow State Community College,
          Phi Theta Kappa has been alleged to make misleading scholarship claims. In member invitations PTK has said that members                        Moore County Campus, Alpha Xi Pi
          have exclusive access to $246 million in scholarships and that the average member receives $2,500 per year. However,                          Chapter
          significant amounts of these scholarships are not exclusive to PTK members; they are available generally to all students                      > Phi Theta Kappa Warning! Caution at
          regardless of PTK membership. This false exclusivity towards scholarships eligibility allegedly misleads students into believing               Pasco-Hernando State College, Porter
          they will receive special access to general financial benefits by joining PTK.                                                                Campus, Beta Phi Epsilon Chapter




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        Phi Theta Kappa has been alleged to make misleading scholarship claims. In member invitations PTK has said that members                  Moore County Campus, Alpha Xi Pi
        have exclusive access to $246 million in scholarships and that the average member receives $2,500 per year. However,                    Chapter
        significant amounts of these scholarships are not exclusive to PTK members; they are available generally to all students                > Phi Theta Kappa Warning! Caution at
        regardless of PTK membership. This false exclusivity towards scholarships eligibility allegedly misleads students into believing         Pasco-Hernando State College, Porter
        they will receive special access to general financial benefits by joining PTK.                                                          Campus, Beta Phi Epsilon Chapter
        Additionally, PTK has allegedly engaged in monopolistic practices, including aggressive tactics to dominate the honor society
        market and selling members’ personal information without consent.                                                                       CATEGORIES

        The lawsuit questions the leadership within PTK, including current CEO Lynn Tincher-Ladner, highlighting the need for greater            » Academic
        accountability and transparency.                                                                                                         > Blog
                                                                                                                                                 > Business
        We are committed to protecting students from misleading practices. We encourage everyone to stay informed and consider                   » Ceremony
        these implications carefully.                                                                                                            > Chapters
         For more information, please refer to these resources:                                                                                  > Class Rings
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                   © Phi Theta Kappa Lawsuit: PTK Deceptive Practices and Attempted Monopoly                                                     » HonorSociety.org
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                   © Is Phi Theta Kappa a Big Deal? No, It’s Not                                                                               > Instagram
                   © Lynn Tincher-Ladner: Alleged Misleading Mastermind                                                                          > Motivational
         We believe that an informed community is a strong community. if you have any questions or concerns, please reach out to                 > philathropy
                                                                                                                                                 » Professional Edition
         ptklawsuit@gm: com.
                                                                                                                                                 > PTK Lawsuit
        Background: The PTK CEO, Lynn Tincher-Ladner, allegedly masterminded these deceptive practices against community college                 » Research
        students and institutions and should be held accountable. For more information about the PTK lawsuit, visit www.ptklawsuit.com.          > Scam Alert
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                                     recognition of student success, and to empowering                          students to achieve.
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                                     Our community emphasizes               leadership and is a platform to showcase
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                                     your talents. Our society's goal is to help you succeed, and to connect                                     > June 2024
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                             empowering students to achieve. Our community emphasizes leadership and is a platform to showcase your              » November 2021
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                                                                                                                                     Higher Education
                                               Time to unmask the truth at Phi Theta Kappa.
                                                                                                                                     What do you do if a student accuses a
                                                                                                                                     professor of misconduct in a Higher
             Phi Theta Kappa: Shocking                                                                                               Education setting?


             Allegations & Unmasking the                                                                                              Teaching
                                                                                                                                     You're faced with a cheating accusation
             Truth.                                                                                                                  during an exam. How do you handle the
                                                                                                                                     situation effectively?

              Q      Honor Society®
                                                                                                                                     Higher Education
                     The Honor Society for AlL™
                     Published Jun 12, 2024                                                                                          What do you do if your higher education
                                                                                                                                     students need a strong advocate?

             Disclaimer: The author of this article is not a neutral party in the referenced litigation.                             Higher Education
             HonorSociety.org Inc., Honor Society Foundation Inc., and its president Michael
                                                                                                                                     A student feels dismissed in higher
             Moradian were sued in federal court by PTK on April 20, 2022 for False Designation of                                   education. How can you ensure their
             Origin, Trade Dress Infringement, and Unfair Competition. Honor Society and Michael                                     grievances are heard?
             Moradian countersued and are presently defendants/counter-plaintiffs in this litigation.
             Litigation is still ongoing and all claims made regarding this case are just allegations                                K-12 Education
             against the parties.                                                                                                    What are the best ways to support a
                                                                                                                                     student struggling with their identity?

                                                                                                                                     Higher Education
             Phi Theta Kappa (PTK), the self-proclaimed "world's largest honor society for
                                                                                                                                     You're facing sensitive student
             community college students", is facing a firestorm of allegations that could forever
                                                                                                                                     disciplinary decisions. How can you
             alter its reputation. Accusations of deceptive practices, monopolistic behavior, and                                    ensure fairness and impartiality?
             unethical conduct have been brought to light in a recent lawsuit filed by Honor
             Society®. This article delves deep into these claims, uncovering the potential impact
             on students and the broader educational community.

             The Allegations: What PTK Is Accused Of
                                                                                                                                     Others also viewed
             The lawsuit, filed in the Southern District of Mississippi, presents a troubling picture
                                                                                                                                                       Davis Polk sets new salary
             of PTK's operations under the leadership of CEO Lynn Tincher-Ladner. Here are the                                                         bar; Yale Law to wipe out
             key allegations:                                                                                                                          tuition for low-income
                                                                                                                                                       students; and a partner pay
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             key allegations:
                                                                                                                                                 students; and a partner pay
                                                                                                                                                 disclosure
              1. Deceptive Exclusivity Claims: PTK allegedly misleads students by claiming that                                                  Reuters Legal » 2y
                 those invited to join are in the "Top 10%" of their class. The reality, according to
                 the lawsuit, is that PTK's criteria allow a much larger percentage of students to                                               What Changes in Corporate
                                                                                                                                                 DEI now that the Supreme
                  qualify. This false exclusivity can significantly mislead students about the value                                             Court Dismantled
                  and prestige of their membership.                                                                                              Affirmative Action in
                                                                                                                                                 University Admissions?
                 . Fraudulent Letters of Recommendation: The lawsuit contends that PTK issues                                                    Bo Young Lee ona - ly
             N




                  letters of recommendation, signed by CEO Lynn Tincher-Ladner, falsely stating                                                  How to champion free
                 that the member is in the top 10% of their class. These letters are purportedly                                                 speech — and avoid campus
                                                                                                                                                 riots
                  issued without any factual basis, deceiving students, educational institutions,
                                                                                                                                                 George Anders - 6y
                  and potential employers.
                                                                                                                                                 Will California Law Allow
              3. Misleading Scholarship Promises: PTK is accused of promoting access to $246                                                     UCLA to Play in the Big Ten?
                  million in scholarships as exclusive to its members, when these scholarships are                                               David D. Walker - 2y

                  actually available to all students. Additionally, the claim that the "average                                                  The Quest for Diversity:
                  member gets $2,500 a year" in scholarships is disputed, suggesting that many                                                   Does Academia Truly Want
                  students are misled about the financial benefits of joining PTK.
                                                                                                                                                 Black Professors?
                                                                                                                                                 Dr. Loren M. Hill»   Ly
              4. Anticompetitive Behavior: The lawsuit highlights PTK's alleged attempts to                                                      Supporting Black Student
                  dominate the community college honor society market through aggressive                                                         Excellence
                 tactics. These include falsely claiming to be the "only" and "official" honor society                                           Fred McKinney - 2mo
                  and selling members’ personal information without their consent. Such practices
                  not only mislead students but also stifle competition in the academic honor
                  society landscape.
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                                                            The Legal File


                  Broken Promises: Why                  Harvard's Black                    Perkins Coie, Morrison
                  Higher Ed Is Backtracking             enrollment dips,                    Foerster Sued Over
                 On.                                    plaintiffs’ firms...                Diversit)
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             The Student Impact: Misled and Disillusioned

             For students, these allegations are deeply concerning. If proven true, they suggest
             that many students have been enticed to join PTK under false pretenses, potentially
             wasting time and money on an organization that does not deliver on its promises.
             The implications for their academic and professional futures could be significant.

             Educational Institutions: Re-Evaluating PTK

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             Educational Institutions: Re-Evaluating PTK

             Colleges and universities that host PTK chapters may need to reconsider. The
             allegations suggest a need for greater scrutiny and due diligence to ensure that
             honor societies and other academic organizations operate transparently and
             ethically. Institutions must protect their students from misleading practices and
             ensure that any endorsed organization truly benefits its members.

             The Bigger Picture: A Call for Integrity and Accountability

             This lawsuit against PTK underscores the critical need for integrity and
             accountability in educational organizations. It serves as a wake-up call for all higher
             education to uphold the highest ethical standards and ensure that their practices are
             transparent and honest. Students and educators must remain vigilant, advocating
             for practices that genuinely support academic excellence and personal development.

             A Call to Action

             The allegations against Phi Theta Kappa highlight significant issues that need
             addressing to protect students and uphold the integrity of academic honor
             societies. This lawsuit is a crucial step towards ensuring that such organizations
             operate with transparency and accountability. The educational community must rally
             for reforms that prioritize the genuine interests of students and the true spirit of
             academic achievement. #PTKlawsuit

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             The Bigger Picture: A Call for Integrity and Accountability

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        court by PTK on April 20, 2022 for False Designation of Origin, Trade Dress Infringement, and Unfair Competition. Honor Society and Michael Moradian countersued and are presently
                        defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims made regarding this case are just allegations against the parties.


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  allegations against the parties.

  The Honor Society Museum is committed to protecting students and preserving the integrity and transparency of
  academic institutions. In line with this mission, we bring to light a significant legal battle that has unfolded against
  Phi Theta Kappa (PTK), known as “the” community college honor society. This lawsuit alleges deceptive practices
  and monopolistic strategies executed by PTK and its CEO, Lynn Tincher-Ladner.


  ALLEGATIONS OF MISLEADING PRACTICES
  The federal lawsuit, filed in the Southern District of Mississippi, highlights several alarming practices. Among the
  most concerning are:

  False “Top 10%” Claims: PTK is accused of misleading students by claiming in their membership invitations that the
  recipients are in the “Top 10%” of their class. This assertion is used to encourage students to pay membership fees.
  However, the criteria set by PTK actually allow a much larger percentage of students to qualify. For instance, at
  Oakton Community College, 44% of students meet PTK’s 3.5+ GPA requirement, which significantly exceeds the true
  “Top 10%” standard. This misrepresentation creates a false sense of exclusivity.

  Questionable Letters of Recommendation: The lawsuit also addresses PTK’s practice of issuing letters of
  recommendation, signed by CEO Lynn Tincher-Ladner, stating that the PTK member is in the top 10% at their
  school. This claim is often made without any factual basis, deceiving students, educational institutions, and
  potential employers about the member's academic standing.

  Misleading Scholarship Information: PTK allegedly promotes access to $246 million in scholarships as an exclusive
  benefit of membership. In reality, these scholarships are generally available to all students, not just PTK members.
  Additionally, PTK claims that the “average member gets $2,500 a year” in transfer scholarships, which is reportedly
  false. Such statements mislead students about the financial benefits of joining PTK.


  ANTICOMPETITIVE CONDUCT
  The lawsuit further accuses PTK of engaging in practices intended to stifle competition within the community
  college honor society market. By misleading students and institutions, PTK allegedly attempts to monopolize this
  market, restricting students’ options for honor society memberships.


  CALL TO ACTION
  The Honor Society Museum encourages those who have been affected by PTK’s practices to come forward. It is vital
  to protect the academic community from these alleged predatory behaviors. If you have experienced misleading
  practices by PTK, please reach out to your state attorney general's office or the Better Business Bureau.

  For those with additional insights or information regarding PTK’s practices, we urge you to contact
  PTKLawsuit@gmail.com. Your privacy and confidentiality will be respected.

  For more details about the lawsuit, visit www.ptklawsuit.com. To participate in the discussion on social media, use
  the hashtag #PTKlawsuit.

  Together, we can uphold the values of integrity and transparencyin honor societies, ensuring that these
  organizations truly honor their members and their commitments.


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          COMMUNITY COLLEGE, MAIN CAMPUS                                                COLLEGE, BATTLE CREEK CAMPUS




  0 COMMENTS ON “PHI THETA KAPPA IS SUED: DISTURBING
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                         defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims made regarding this case are just allegations against the parties.

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           Lynn Tincher-Ladner’s PTK Compensation & Salary Review
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         June 21, 2024 | By Honor Society Foundation | In PTK Lawsuit

         Phi Theta Kappa Alert at SUNY College of Technology at Alfred, Main
         Campus: Caution Advised Regarding the PTK Alpha Sigma Mu
         Chapter
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         Phi Theta Kappa Alert at Louisiana Delta Community College,
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         Phi Theta Kappa Alert at Paradise Valley Community College,
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         Phi Theta Kappa Alert at Southside Virginia Community College,
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              PHI THETA KAPPA ALERT AT SUNY
              COLLEGE OF TECHNOLOGY AT
              ALFRED, MAIN CAMPUS: CAUTION                                                                                                                          June 2024                    May 2024
              ADVISED REGARDING THE PTK                                                                                                                             November 2023
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              plainsifs inthis ligation. Litigation is still ongoing and all claims made regarding this case are just allegations against the partes,
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              Weare reaching out to you with an urgent                                                                                                                         ‘© Amazon E-Book [I © Arizona State University

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              Theta Kappa (PTK), which has a presence at
              this campus. HSF is not related to this
              campus, but recent developments have
              brought to light shocking allegations
              against PTK that we believe every member
              of our community should be aware of.
              Alarming Allegations Against PTK
              PTKis currently facing a lawsuit that accuses the organization of engaging in serious deceptive
              practices and monopolistic tactics. These allegations are not just minor infractions; they represent a
              significant breach of trust that could severely impact community college students.
              False Advertising Claims:

                 + Top 10% Misrepresentation: PTK claims that its members are in the “Top 10%" of their class.
                   However, evidence shows that the actual percentage of qualifying students is much higher,
                   misleading students about the exclusivity and value of their membership.
                   Misleading Scholarship Promises: PTK has been alleged of making misleading scholarship
                   claims. They suggest that members have exclusive access to $246 million in scholarships and
                   that the average member receives $2,500 per year. However, many of these scholarships are
                   not exclusive to PTK members; they are available to all students. This false exclusivity misleads
                   students into believing they will receive unique financial benefits by joining PTK,
              Monopolistic Practics

                 + Aggressive Tactics: PTK has allegedly used aggressive methods to dominate the community
                   college honor society market, including falsely claiming to be “the only official” honor society
                   and selling members’ personal information without consent.

               Leadership Under Scrutiny
              The current CEO, Lynn Tincher-Ladner, is at the center of these allegations. The need for
              accountability and transparency within PTK has never been more critical. Her leadership has come
              into question, and it is imperative that we hold those in power responsible for their actions.

              A Call to Action
              ‘Asa community, we must take a stand against these deceptive practices to protect our students and
              ensure their educational experience is not marred by misleading information. This is not just about
              one honor society; itis about safeguarding the integrity of our academic institutions and standing up
              for social justice.
              We urge you to:
                   1. Stay Informed: Educate yourself about the allegations and understand their potential impact
                      ‘on our students.
                  2. Speak Out: Share this information with others and raise awareness about the issues                          The Honor Society Foundation exists first and
                      surrounding PTK.                                                                                           foremost to help achievers like you build relationships
                  3, Demand Accountability: Call for greater transparency and accountability from PTK's                          with similar values-driven and goal-oriented people
                      leadership.                                                                                                and organizations, while striving to provide
                                                                                                                                 Scholarships those who go above and beyond.
              For more information and to join the movement for transparency and justice, please refer to these
              resources:
                                                                                                                                 e0®@
                 * Phi Theta Kappa Lawsuit: PTK Deceptive Practices and Attempted Monopoly
                 * IsPhi Theta Kappa Worth It?
                 * Is Phi Theta Kappa a Big Deal? No, It’s Not



Document title: Phi Theta Kappa Alert at SUNY College of Technology at Alfred, Main Campus: Caution Advised Regarding the PTK Alpha Sigma Mu Chapter - Honor…
Capture URL: https://honorsocietyfoundation.org/ptk-suny-college-of-technology-at-alfred-main-campus/
Capture timestamp (UTC): Fri, 06 Dec 2024 20:16:52 GMT                                                                                                Page 2 of 5
                     leadership.                                                                                             and organizations, while striving to provide
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             resources:                                                                                                      e0eo

                     Phi Theta Kappa Lawsuit: PTK Deceptive Practices and Attempted Monopoly
                     Is Phi Theta Kappa Worth It?
                     1s Phi Theta Kappa a Big Deal? No, It’s Not
                     Lynn Tincher-Ladner: Alleged Misleading Mastermind
                     Phi Theta Kappa Sexual Harassment: Stunning Allegations Revisited
                     Phi Theta Kappa Embezzlement: A Deep Dive into the Allegations
                     Phi Theta Kappa Employee Reviews: Unmasking the PTK Workplace Environment
                     Phi Theta Kappa Reviews: Real Student Experiences
                     Trustpilot Reviews on PTK
              Together, we can make a difference and ensure that our students receive the honest and transparent
              support they deserve. If you have any questions or concerns, please reach out to
              PTKLawsuit@gmail.com.
              Stand with us in this fight for justice and integrity.


              This is a public service announcement in the interest of protecting students and community colleges.
              This website is not affiliated with Phi Theta Kappa.
              The PTK CEO, Tincher-Ladner, allegedly masterminded these deceptive practices against community
              college students and institutions and should be held accountable. For more information about the
              PTK lawsuit, visit www-ptklawsuit.com. To post or follow the topic on social media, use #PTKlawsuit.
              Call for Action:

              If you have insights or information about PTK's alleged deceptive practices, please email
              PTKLawsuit@gmail.com.

                                            Honor Society Foundation
                                            See Full Bio >




                                 PREVIOUS STORY                                       NEXT STORY

                    Phi Theta Kappa Alert at Louisiana Delta                Honor Societies at American Samoa
                      ‘Community College, Monroe Main                       ‘Community College, Pago Pago Campus:
                    ‘Campus: Caution Advised Regarding the                 Phi Theta Kappa and PTK's Alpha Epsilon
                           PTK Beta Rho Phi Chapter                                      ‘Mu Chapter




         Related Articles




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                     Case 3:22-cv-00208-CWR-RPM                     Document 328-1                Filed 12/09/24         Page 64 of 133
         Related Articles




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    Case 3:22-cv-00208-CWR-RPM             Document 328-1             Filed 12/09/24          Page 67 of 133
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Document title:                  Phi Theta Kappa Lawsuit: PTK Deceptive Practices and Attempted Monopoly -
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                                 and-attempted-monopoly/

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Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
                                 Chrome/126.0.6478.234 Safari/537.36

Operating system:                Linux (Node 20.17.0)

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Disclaimer: The author  of this article is not a neutral party in the referenced litigation. HonorSociety.org Inc., Honor Society Foundation       Inc., and its president Michael Moradian we
        court by PTK on Case
                          April 20, 3:22-cv-00208-CWR-RPM
                                    2022 for False Designation of Origin, Trade Dress Infringement,
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                         defendants/counter-plaintiffs in this litigation. Litigationis still ongoing and all claims made regarding this case are just allegations against the parties

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                  May 17, 2024 | By Honor Society Foundation                                                                     In          ,                                                                     Q



                  PHI THETA KAPPA LAWSUIT: PTK
                  DECEPTIVE PRACTICES AND
                  ATTEMPTED MONOPOLY                                                                                                                                     June 2024               May2024
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                  FRE meT A eer eT                    iE        eect per ath             arene age Teese                      Troe ec                                    September 2019          July 2019
                  ‘Inc, and its president Michael Moradian were sued in federal court by PTK on April 20, 2022 for False Designation of Origin, Trade                  June 2019                 May 2019
                                                                                                                                                                     April 2019                 March 2019
                  Dress Infringement, and Unfair Competition. Honor Society and Michael Moradian            countersued and are present defendants/counter-
                  plains in his tngation. Litigation is still ongoing and all claims made regarding this case are just allegations against the parties

                  Ina bold move to defend students, parents, and the educational community, a
                  lawsuit was filed against Phi Theta Kappa (PTK) and its CEO, Lynn Tincher-
                  Ladner. The lawsuit, filed in the Southern District of Mississippi, accuses PTK of                                                                       Sie
                  deceptive practices and attempting to monopolize the community college honor                                                                             Select Category                             .
                  society market. The allegations claim that PTK’s actions have misled students,
                  educational institutions, and employers. Read the news release or visit the
                  PTKlawsuit.com portal.


                  The Allegations Against Phi Theta Kappa
                  The lawsuit outlines several disturbing practices allegedly orchestrated by CEO Lynn Tincher-Ladner,
                  including:
                  False “Top 10%” Claims: PTK is accused of falsely stating in their solicitations that invited students are in the
                  “Top 10%" of their class to entice them to pay membership fees. In reality, PTK’s criteria allowa much larger
                  percentage of students to qualify. For instance, at Oakton Community College, 44% of students meet PTK's
                  3.5+ GPA standard—far exceeding the actual “Top 10%." This misleads students about the exclusivity of PTK
                  membership.
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               including:
                    Case 3:22-cv-00208-CWR-RPM                                           Document 328-1                            Filed 12/09/24          Page 69 of 133
               False “Top 10%" Claims: PTK is accused of falsely stating in their solicitations that invited students are in the
               “Top 10%" of their class to entice them to pay membership fees. In reality, PTK’s criteria allow a much larger
               percentage of students to qualify. For instance, at Oakton Community College, 44% of students meet PTK's
               3.5+ GPA standard—far exceeding the actual “Top 10%.” This misleads students about the exclusivity of PTK
               membership.
               Fraudulent Letters of Recommendation: PTK allegedly issues letters of recommendation, signed by CEO
               Lynn Tincher-Ladner, claiming that the PTK member is in the top 10% at their school—without any factual
               basis. This deception misleads students, colleges, and employers regarding the true merit of PTK membership.
               Misleading Scholarship Claims: PTK is accused of promoting exclusive access to $246 million in scholarships,
              which are actually widely available university transfer scholarships. This misrepresentation leads students to
              pay for PTK membership under false pretenses. Additionally, PTK allegedly claims that its “average member
              gets $2,500 a year" in transfer scholarships, which is false. These misleading statements deceive students
              about the benefits of PTK membership.
               These deceptive tactics, the lawsuit claims, have enabled PTK to misappropriate significant funds from
               students by exploiting their trust and aspirations. Moreover, PTK is accused of selling and sharing member
               data under false pretenses, further compromising student privacy and trust.

               Monopolistic Conduct and Suppression of
               Competition
               The lawsuit also accuses PTK of engaging in anticompetitive behavior aimed at excluding competition from
               the community college market. Mikal Calvert states, “Phi Theta Kappa's actions have unfairly restricted the
               choices for honor society memberships in community colleges, misleading countless students. This lawsuit
               seeks to dismantle these falsehoods and promote a market that truly values inclusivity and excellence.”

               Call to Action
               The Honor Society Foundation urges anyone affected by PTK's deceptive practices to come forward. “We
               ‘must protect vulnerable students and educational institutions from these alleged predatory behaviors,”
               emphasizes Calvert. “We encourage anyone who believes they have been misled by Phi Theta Kappa to
               contact their state attorney general's office or the Better Business Bureau.”
              If you have information about PTK’s deceptive practices, please email PTKLawsuit@gmail.com. Your privacy
               and confidentiality will be respected.
               For more information about the lawsuit, visit www,ptklawsuit.com. To join the conversation on social media,
               use #PTKlawsuit.

               By working together, we can ensure that honor societies truly honor their members and uphold the highest
               ethical standards.

                                               Honor Society Foundation
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                                                                                                                                             The Honor Society Foundation exists first and foremost to
                                                                                                                                             help achievers like you build relationships with similar
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                                                                                                                         organizations, while striving to provide Scholarships those
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                         University, Topeka Campus: Caution         Community College, Brockton Campus:
                        Advised Regarding the PTK Alpha Mu        Caution Advised Regarding the PTK Alpha
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Etienne, Mike

From:                             Deshauntae Anderson <dande110@email.tjc.edu>
Sent:                             Thursday, December 5, 2024 7:24 PM
To:                               Etienne, Mike
Subject:                          Fwd: Action Needed




---------- Forwarded message ---------
From: honorsocietysurvey@gmail.com via SurveyMonkey <member@surveymonkeyuser.com>
Date: Mon, Dec 2, 2024 at 5:09 PM
Subject: Action Needed
To: Deshauntae Anderson <dande110@email.tjc.edu>




           Community College Honor Societies Survey

    We recently contacted you about a survey, but haven't received your responses. We'd really appreciate your
    participation.

    Click the button below to start or continue the survey. Thank you for your time.



                                                          Begin Survey


                                   Please do not forward this email as its survey link is unique to you.
                                                         Privacy | Unsubscribe


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                                 QaGiEY_2BQHqEy0WMY4pH_2FZYEd_2FeG6Iw5

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Collection server IP:            54.145.42.72

Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
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Operating system:                Linux (Node 20.17.0)

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                    Community College Honor Societies Survey


                    1. Which honor societies have you HEARD OF while in Community College?


                     ( Delta Alpha Pi [For Disabilities]

                     (5 Sigma Kappa Delta [For English]

                     (3 Phi Sigma Pi [Honors Fraternity]

                     (J SALUTE [For Veterans]

                     (3 Psi Beta [For Psychology]

                     (7) National Adult Education Honor Society (NAEHS)

                     (Kappa Beta Delta [For Business]

                     (J OADN Alpha Delta Nu [For Nursing]

                     C1 Society for Collegiate Leadership & Achievement (SCLA)

                     (J Mu Alpha Theta [For Mathematics]

                     (J Phi Rho Pi [For Forensics]

                     (J) National Society of Leadership & Success (NSLS)

                     (J Honor Society® (HonorSociety.org)

                     (J NSNA Leadership University Honor Society [For Nursing]

                     (3 Phi Theta Kappa (PTK)

                     (Alpha Beta Gamma [For Business]

                     (Alpha Beta Kappa [General]

                     (J) National Society of Collegiate Scholars (NSCS)

                     (7) National Technical Honor Society (NTHS)

                     (J other (please specify)



                     (J None of the above




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               Case 3:22-cv-00208-CWR-RPM                        Document 328-1    Filed 12/09/24    Page 77 of 133
                    2. Which honor societies have you JOINED while in Community College?


                     (Alpha Beta Gamma [For Business]

                     C1 Society for Collegiate Leadership & Achievement (SCLA)

                     (J Phi Rho Pi [For Forensics]

                     (J Mu Alpha Theta [For Mathematics]

                     (J) National Society of Leadership & Success (NSLS)

                     (3 Phi Sigma Pi [Honors Fraternity]

                     (Kappa Beta Delta [For Business]

                     (J) National Society of Collegiate Scholars (NSCS)

                     (3 Psi Beta [For Psychology]

                     ( Delta Alpha Pi [For Disabilities]

                     (J NSNA Leadership University Honor Society [For Nursing]

                     (7) National Adult Education Honor Society (NAEHS)

                     (3 Phi Theta Kappa (PTK)

                     (J OADN Alpha Delta Nu [For Nursing]

                     (J SALUTE [For Veterans]

                     (Alpha Beta Kappa [General]

                     (5 Sigma Kappa Delta [For English]

                     (J Honor Society® (HonorSociety.org)

                     (7) National Technical Honor Society (NTHS)

                     (J other (please specify)



                     (J None of the above




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               Case 3:22-cv-00208-CWR-RPM                     Document 328-1                                Filed 12/09/24   Page 78 of 133




                    3. Have you been invited to Phi Theta Kappa (PTK) ever?


                     O Yes

                     ONo




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                                 QaGiEY_2BQHqEy0WMY4pH_2FZYEd_2FeG6Iw5

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Capture tool:                    10.54.0

Collection server IP:            54.145.42.72

Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
                                 Chrome/126.0.6478.234 Safari/537.36

Operating system:                Linux (Node 20.17.0)

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                    Community College Honor Societies Survey


                    4. How did you receive your invitation to Phi Theta Kappa (PTK)?




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                    Community College Honor Societies Survey




                    5. What was your GPA at the time of being invited/enrolling in PTK?




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               Case 3:22-cv-00208-CWR-RPM                    Document 328-1                                Filed 12/09/24   Page 85 of 133   *) CD




                    Community College Honor Societies Survey


                    7. How satisfied are you with your PTK membership?


                    O     Very satisfied

                     CO   Satisfied

                     CO   Neutral

                     O    Dissatisfied

                    O     Very dissatisfied




                                                                             NEXT


                                                                          Powered by
                                                                 >       SurveyMonkey:
                                                        ‘See how easy it is to create surveys and forms,




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               Case 3:22-cv-00208-CWR-RPM                             Document 328-1                Filed 12/09/24    Page 88 of 133   *) CD




                    Community College Honor Societies Survey


                    8. Pl           aborate on wt        you are d             ith PTK. The truth       is imp       r opinion
                    matters




                    9. If you were offered a refund of your PTK Membership, would you want to be refunded?


                     O Yes

                     ONo




                    10. What do you like |               bout Phi Theta Kapp


                                                                                                    4


                    I . Diversity, inclusion        and belonging

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                                y important

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               Case 3:22-cv-00208-CWR-RPM                      Document 328-1                                Filed 12/09/24   Page 89 of 133




                    * 13. How likely is it that you would recommend        Phi Theta Kappa (PTK) to a friend or colleague?


                    NOT AT ALL LIKELY                                                                                         EXTREMELY LIKELY
                         °              1   2        3           4               5               6             7      8       9         10




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               Case 3:22-cv-00208-CWR-RPM                      Document 328-1                                Filed 12/09/24   Page 90 of 133




                    * 13. How likely is it that you would recommend        Phi Theta Kappa (PTK) to a friend or colleague?


                    NOT AT ALL LIKELY                                                                                         EXTREMELY LIKELY
                         °              1   2        3           4               5               6             7      8       9         10




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             May 9, 2024 — Filed in the Southern District of Mississippi, the suit alleges that
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             Is Phi Theta Kappa a legitimate honor society?                                                  v

             Can you get kicked out of Phi Theta Kappa honor society?                                        v

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             intended to stifle competition and limit student options, all orchestrated to . .



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             Phi Theta        Kappa       Honor Soc'y v. HonorSociety.org.
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             The lawsuit raises serious concerns about false advertising and monopolistic
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             False Advertising Claims: PTK is accused of misleadingly claiming that its
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             May 21, 2024 — This includes allegedly deceptive marketing tactics and claims
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             Beta Phi Alpha Chapter at Carrington College, San ...
             Jun 22, 2024 — Key Allegations Against PTK. PTK stands accused of falsely
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             Phi Theta        Kappa       Honor Soc'y v. Honorsociety.Org.
             Mar 29, 2024 — In this suit, PTK alleges that Honor Society is infringing upon PTK's
             trademarks and trade dress. PTK says it has received more than 100 individual...

                    Reddit - r/CUNY
                    1 comment - 2 months ago
             Phi Theta        Kappa       : r/CUNY
             Good if you plan to transfer to a 4 year college that is affiliated with PTK because
             you can good scholarship if you meet criterias.
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Document title:                  Phi Theta Kappa Lawsuit | Honor Society - Official Honor Society® Website

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            Phi Theta Kappa Lawsuit



                             False Advertising & Attempted Monopoly
                                 - The Phi Theta Kappa Lawsuit Detail
                   Disclaimer: The author of this article is not a neutral party in the referenced litigation. HonorSociety.org Inc., Honor Society Foundation Inc, and its
                   president Michael Moradian were sued in federal court by PTK on April 20, 2022 for False Designation of Origin, Trade Dress Infringement, and Unfair
                   Competition. Honor Society and Michael Moradian countersued and are presently defendants/counterplaintiffs in this litigation. Litigation is still
                   ‘ongoing and all claims made regarding this case are just allegations against the parties.
                   Phi Theta Kappa (PTK) is currently embroiled in a lawsuit that raises serious questions about its integrity and practices.
                   Allegations of deceptive advertising, misleading scholarship claims, and anticompetitive behavior have come to light,
                   challenging the very foundation of PTK's esteemed reputation. As details unfold, it's crucial for students, educators, and
                   the broader community to understand the implications of these allegations and make informed decisions about their
                   involvement with PTK. For a deeper dive into PTK's scholarship claims, visit our detailed page on Phi Theta Kappa
                   Scholarships: What You Need to Know Before You Join. Additionally, our support page provides comprehensive coverage
                   of the Phi Theta Kappa Lawsuit, and for those questioning the value of membership, see our analysis on Is PTK Worth
                   It?. To understand more about PTK, refer to our Phi Theta Kappa Honor Society Summary.

                   Stay informed and vigilant as we continue to provide updates on this significant case affecting the academic
                   community.

                   Read the federal lawsuit complaint against Phi Theta Kappa:




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                                                        UNITED STATES DISTRICT COURT
                                                       SOUTHERN DISTRICT OF MISSISSIPPI
                                                              [JACKSON DIVISION
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                                 HONORSOCIETY.ORG INC,
                                    Defendsnt/Counter Pint
                                 HONOR SOCIETY FOUNDATION, INC,
                                      Defendant.
                                 HONORSOCIETY.ORG INC,
                                     Defendant/Counter
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                                     Party Pani

                                LYNNTINCHER-LADNER,                                                                                                                           Hi, Need any help?
                                     “Third-Party Defendant.
                                   HONORSOCIETY.ORG,
                                               INC.S SECOND-AMENDED COUNTERCLAIM AND
                                      ‘SECOND: AMENDED THIRD-PARTY COMPLAINT
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                                     “Third-Party Defendant.
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                                      ‘SECOND: AMENDED THIRD-PARTY COMPLAINT




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                            FOR IMMEDIATE RELEASE - New.
                       Alert: Honor Society" Sues Phi Theta Kappa
                          Over Deceptive Practices and Attempted
                                         Monopoly
                   Las Vegas, NV, May 9, 2024: In resolute defense of students, parents and the educational community, Honor Society® has filed claims in a federal
                   lawsuit against Phi Theta Kappa (PTK) and its CEO, Lynn Tincher-Ladner, accusing them of misleading students and attempting to monopolize the
                   community college honor society market. Filed in the Southern District of Mississippi, the suit alleges that PTK's practices deceive students,
                   educational institutions, and employers.
                   The lawsuit details several troubling practices allegedly masterminded by CEO Lynn Tincher-Ladner, including:
                         1.False "Top 10%" Claims: PTK is accused of falsely claiming in solicitations that invited students are in the “Top 10%" of their class to entice
                           them to pay membership fees. PTK’s criteria allow a much higher percentage of students to qualify. For example, at Oakton Community
                           College, 44% of students meet PTK's 3.5+ GPA standard—significantly more than the actual "Top 10%." This misleads both those within and
                            beyond this percentile about the exclusivity and prestige of PTK membership.
                         2. Alleged Fraudulent Letters of Recommendation: Compounding the member invitation issue, Phi Theta Kappa issues letters of
                            recommendation on behalf of its members, with CEO Lynn Tincher-Ladner's signature, claiming that the PTK member is in the top 10% at
                            their school—without any basis. This deceives students, colleges, and employers about the true academic achievements of PTK members.
                         3. Misleading Scholarship Claims: PTK allegedly promotes exclusive access to $246 million in scholarships, which are actually broadly available
                            university transfer scholarships. This misrepresentation leads students to pay for PTK membership under false pretenses. Furthermore, Phi
                            Theta Kappa allegedly advertises that its “average member gets $2,500 a year” in transfer scholarships, which is false. These alleged
                            misrepresentations deceive students as to the benefits PTK provided.                                                                  3-H: Need any help?
                   These and other deceptive tactics, the lawsuit alleges, have allowed PTK to misappropriate significant sums from students, by exploiting their trust
                   and aspirations. Moreover, the lawsuit alleges that PTK has sold and shared member data under false pretenses, further compromising student
                   privacy and trust.
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                  These and other deceptive tactics, the lawsuit alleges, have allowed PTK to misappropriate significant sums from students, by exploiting their trust
                  and aspirations. Moreover, the lawsuit alleges that PTK has sold and shared member data under false pretenses, further compromising student
                  privacy and trust.
                  PTK has also allegedly engaged in anticompetitive conduct intended to exclude competition from the community college market, harming students as
                  a result. Mikal Calvert, marketing director of Honor Society®, states, "Phi Theta Kappa’s actions have unfairly restricted the choices for honor society
                  memberships in community colleges, misleading countless students. This lawsuit aims to dismantle these falsehoods and advocate for a market that
                  truly values inclusivity and excellence."
                  Honor Society® urges those affected by PTK’s deceptive practices to come forward. "We must protect vulnerable students and educational institutions
                  from these alleged predatory behaviors,” emphasizes Calvert. “We encourage anyone who believes they have been misled by Phi Theta Kappa to
                  contact their state attorney general's office or the Better Business Bureau.”
                  For more information about the lawsuit, visit wwwptklawsuit.com. To post or follow
                                                                                                 the topic on social media, use #PTKlawsuit.
                  call for Action:
                 If you have insights or information about PTK's alleged deceptive practices, please email PTKLawsuit@gmail.com. Your privacy and confidentiality
                                                                                                                                                               will
                  be respected


                  About Honor Society®:
                  Honor Society® is a forward-thinking, technology-driven society dedicated to recognizing academic and professional excellence. For over a decade,
                  Honor Society® has been at the forefront of promoting inclusivity and dismantling systemic bias and structural racism, providing a platform that
                  encourages achievement at all levels. Committed to empowering its members, Honor Society® has reached millions of students and professionals
                  across the nation, promoting inclusive excellence through personalized recognition, diverse programming,  and wide-ranging career resources. As a
                  pioneering leader in the honor society community, Honor Society® addresses critical issues often incumbent in historical honor societies, such as
                  accessibility, equity, and inclusivity. It is a proud member of the National Association of Diversity Officers in Higher Education (NADOHE), reinforcing its
                  role as "The Honor Society for         Al ™.” For more information about the society, visit HonorSociety.org.


                                                                                              Ht


                  More   Links:


                  Lynn Tincher-Ladner Lawsuit
                  Phi Theta Kappa Lawsuit
                  Phi Theta Kappa News Release




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                       More Links:

                      Lynn Tincher-Ladner Lawsuit




                     HONOR SOCIETY



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              travel. Access special items like graduation honor cords and essential career resources. AS a              CoN ees Cece eee as cea AS)
              distinct and pioneering honors organization, we're relentlessly committed to providing the                  CR ears Re eg ee
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Document title:                  Unmasking Lynn Tincher-Ladner: The Allegations of False Advertising at PTK |
                                 Honor Society - Official Honor Society® Website

Capture URL:                     https://www.honorsociety.org/articles/unmasking-lynn-tincher-ladner-allegations-false-
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Operating system:                Linux (Node 20.17.0)

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                                                                                                                                           DIVERSITY




              Unmasking                          Lynn Tincher-Ladner: The                                                                               ABOUT THE AUTHOR

             Allegations of False Advertising at PTK
              Jun 16,2024

                                                                                                                                                 HonorSociety.org Member Services
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              Disclaimer: The author of this article is not a neutral party in the referenced litigation. HonorSociety.org Inc., Honor
                                                                                                                                                 Five Tips to Help You Prepare for
              Society Foundation Inc., and its president Michael Moradian were sued in federal court by PTK on April 20, 2022 for
                                                                                                                                                                Finals
              False Designation of Origin, Trade Dress Infringement, and Unfair Competition. Honor Society and Michael Moradian
              countersued and are presently defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims
              made regarding this case are just allegations against the parties.

              Phi Theta Kappa (PTK), long purported to be "the world's largest honor society for community college
              students’, is facing significant scrutiny under the leadership of CEO Lynn Tincher-Ladner. Recent
              allegations have surfaced, accusing PTK of false advertising and deceptive practices. This article aims to
              provide a detailed analysis of these allegations, shedding light on how Lynn Tincher-Ladner's decisions                           8 Effective Study Habits to Boost

              have impacted PTK’s reputation and the well-being of its members.                                                                                    Your Grades

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              The           Allegations                                                                                                            NY              og Sisto
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              False Claims of Exclusivity                                                                                                      NY                          wk     @    ¥O
              One of the core allegations against PTK under Tincher-Ladner's leadership is the false claim of exclusivity. PTK often
              advertises that its members are in the "Top 10%" of their class, a prestigious accolade that suggestsa high level of              S.T.E.M:     The New Courses for the

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              academic achievement. However, investigations have revealed that the criteria for membership often include a much
              larger percentage of students. At some institutions, up to 44% of students meet PTK's GPA standards. This significant
              discrepancy misleads students about the true value and exclusivity of their membership.
                                                                                                                                                                   FoLLow us
              For more details on this, you can refer to the Truth Behind PTK's Top 10% Claim.
                                                                                                                                                  Posts from                     * _   ‘tNeedanyhelp?
              Misleading Scholarship Promises
                                                                                                                                                  @HonorSociety
              PTK's scholarship opportunities are a major draw for students, but the reality may not align with the promises made.
              PTK has promoted access to $246 million in scholarships as exclusive to its members, but many of these scholarships
               ire available to all students, not just PTK members. Additionally, PTK’s claim that the "average member gets $2,500 a                    XY


Document title: Unmasking Lynn Tincher-Ladner: The Allegations of False Advertising at PTK | Honor Society - Official Honor Society® Website
Capture URL: https://www.honorsociety.org/articles/unmasking-lynn-tincher-ladner-allegations-false-advertising-ptk
Capture timestamp (UTC): Sat, 07 Dec 2024 20:33:11 GMT                                                                                                                                        Page 1 of 4
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                  PTK's scholarship opportunities are a major draw for students, but the reality may not align with the promises made.
                  PTK has promoted access to $246 million in scholarships as exclusive to its members, but many of these scholarships
                  are available to all students, not just PTK members. Additionally, PTK's claim that the "average member gets $2,500 a          xX
                  year" in scholarships has been disputed, suggesting that many students are misled about the financial benefits of
                  joining
                     the society.
                  To learn more, visit Phi Theta Kappa Scholarships: Are They as Exclusive as Advertised?.                                       Nothing

                  Fraudulent                  Letters of Recommendation                                                                          to see
                 ‘Another troubling allegation is the practice of issuing letters of recommendation that falsely claim members are in the        here        -
                  top 10% of their class. These letters, signed by CEO Lynn Tincher-Ladner, are provided without verifying the students’         yet
                   actual class rank. This practice deceives educational institutions and potential employers about the student's academic
                   standing, undermining the integrity of the recommendations PTK provides.                                                      When they post, their
                                                                                                                                                 posts will show up
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                   Impact on PTK's Public Image
                  The accumulation of these deceptive practices has significantly tarnished PTK’s image. Once revered as a prestigious
                  honor society, PTK's reputation is now under question. The leadership  of Lynn Tincher-Ladner is at the center
                                                                                                                             of this                  eS
                  controversy, with calls for greater accountability and transparency in how PTK operates.
                  For a broader look at PTK’s issues, you can read Is PTK Worth It? A Critical Look at Phi Theta Kappa.                                Facebook

                   The Need for Awareness
                  Educational institutions that host PTK chapters must be aware of these allegations and consider the potential impact
                  on their students. Supporting an organization accused of deceptive practices could have serious implications for the
                  college's credibility and the trust placed in them by students and parents.
                  Conclusion
                  The allegations against PTK and Lynn Tincher-Ladner highlight the need for transparency     and accountability in honor
                  societies, Students and educational institutions deserve to be informed about the true nature of the organizations
                  they are affliated with. As these issues continueto unfold, itis crucial for PTK to address these allegations and work
                  towards restoring its integrity and trust within the academic community.

                  For more information on the lawsuit against PTK, visit the PTK Lawsuit Support Page and PTK Lawsuit Summary.

                  By staying informed and advocating for honest practices, we can help protect the interests of students and uphold the
                  true values of academic excellence and integrity.
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Document title:                  Phi Theta Kappa at Salem Community College, Carney’s Point Campus: Alpha Pi
                                 Omega Chapter of PTK - Honor Society Foundation

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                                 carneys-point-campus/

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Collection server IP:            54.145.42.72

Browser engine:                  Mozilla/5.0 (X11; Linux x86_64) AppleWebKit/537.36 (KHTML, like Gecko)
                                 Chrome/126.0.6478.234 Safari/537.36

Operating system:                Linux (Node 20.17.0)

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         PHI THETA KAPPA AT SALEM COMMUNITY COLLEGE, CARNEY’S
         POINT CAMPUS: ALPHA PI OMEGA CHAPTER OF PTK
                                                                       Inc., H




         Dear Salem Community College, Carney’s Point
         Campus Community,
        We want to inform you about a lawsuit filed against Phi Theta Kappa (PTK),
         an honor society known across community colleges. The lawsuit raises
         serious concerns about false advertising and monopolistic practices.
         PTK is accused of falsely claiming members are in the “Top 10%” of their
         class, when the actual percentage is much higher, misleading potential
         members.
         Phi Theta Kappa has been alleged to make misleading scholarship claims. In
         member invitations PTK has said that members have exclusive access to
         $246 million in scholarships and that the average member receives $2,500
         per year. However, significant amounts of these scholarships are not
         exclusive to PTK members; they are available generally to all students
         regardless of PTK membership. This false exclusivity towards scholarships
         eligibility allegedly misleads students into believing they will receive special
         access to general financial benefits by joining PTK.
        Additionally, PTK has allegedly engaged in monopolistic practices, including
         aggressive tactics to dominate the honor society market and selling


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        Additionally, PTK has allegedly engaged in monopolistic practices, including
         aggressive tactics to dominate the honor society market and selling
         members’ personal information without consent.
        The lawsuit questions the leadership within PTK, including current CEO
         Lynn Tincher-Ladner, highlighting the need for greater accountability and
         transparency.

        Weare committed to protecting students from misleading practices. We
         encourage everyone to stay informed and consider these implications
         carefully.
         For more information, please refer to these resources:
           * Phi Theta Kappa Lawsuit: PTK Deceptive Practices and Attempted Monopoly
           + IsPhi Theta Kappa Worth It?
           * Is Phi Theta Kappa a Big Deal? No, It’s Not
           + Lynn Tincher-Ladner: Alleged Misleading Mastermind
        The PTK CEO, Tincher-Ladner, allegedly masterminded these deceptive practices against community college students and institutions and should be held accountable. For
        more information about the PTK lawsuit, visit www.ptklawsuit.com. To post or follow the topic on social media, use #PTKlawsuit.
        This is a public service announcement in the interest of protecting students and community colleges. This website is not affiliated with Phi Theta Kappa
         Call
          for Action:
         If you have insights or information about PTK’s alleged deceptive practices, please email PTKLawsuit@gmail.com.




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Document title:                  Phi Theta Kappa Alert: Is PTK Worth It at Jackson College, Central Campus? -
                                 Honor Society Museum

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  Disclaimer: The author of this article is not a neutral party in the referenced litigation. HonorSociety.org Inc., Honor Society Foundation Inc., and its president Michael Moradian were sued in
  federal court by PTK on April 20, 2022 for False Designation of Origin, Trade Dress Infringement, and Unfair Competition. Honor Society and Michael Moradian countersued and are presently
  defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims made regarding this case are just allegations against the parties.

  Attention: PTK Alpha Rho Lambda Chapter at Jackson College, Central Campus

  Dear Jackson College, Central Campus Community,


  The Honor Society Museum is issuing an urgent news release to inform and protect our community about serious concerns regarding Phi Theta Kappa (PTK), an honor society
  widely known across community colleges. Recent developments have unveiled a lawsuit against PTK, highlighting alarming allegations of false advertising and monopolistic
  practices.


  CRITICAL ALLEGATIONS AGAINST PTK
  The lawsuit against PTK exposes significant issues that warrant our collective attention and action:

  False Advertising Claims:


  PTK is accused of misleadingly claiming that its members are in the “Top 10%” of their class, whereas the actual percentage of qualifying students is much higher. This deceptive
  practice misleads potential members about the exclusivity and value of their membership. Furthermore, PTK has been found to make misleading scholarship claims. They
  suggest that members have exclusive access to $246 million in scholarships and that the average member receives $2,500 per year. However, many of these scholarships are not
  exclusive to PTK members; they are available to all students. This false exclusivity misleads students into believing they will receive unique financial benefits by joining PTK.

  Monopolistic Practices:

  PTK has allegedly employed aggressive tactics to dominate the honor society market, including falsely claiming to be “the” and “only official” honor society for community
  colleges and selling members’ personal information without consent.


  LEADERSHIP ACCOUNTABILITY
  The current CEO, Lynn Tincher-Ladner, is at the center of these allegations. The lawsuit highlights the urgent need for greater accountability and transparency within PTK. Her
  leadership has come into question, and it is imperative that we hold those in power responsible for their actions.


  A CALL FOR UNITY AND ACTION
  ‘We urge our community to come together to combat these deceptive practices and protect our students. This is not just about one honor society; it is about standing up against
  misleading practices that harm our academic integrity. Together, we can create a safer and more transparent environment for our students.


  HOW YOU CAN HELP
      1. Stay Informed: Educate yourself about the allegations against PTK and understand their potential impact on our students.
     2. Raise Awareness: Share this information with others and encourage them to stay informed about the issues surrounding PTK.
     3. Demand Accountability: Advocate for greater transparency and accountability from PTK’s leadership.
  For more detailed information and to join the movement for transparency and justice, please refer to these resources:

     ©   PTK Lawsuit Articles
     * Phi Theta Kappa Lawsuit
     # Tymn Tincher-t    adner’s PTK Camnensatinn Galary Review




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     * PTK Lawsuit Articles
     * Phi Theta Kappa Lawsuit
     « Lynn Tincher-Ladner’s PTK Compensation Salary Review
  Together, we can ensure that our students receive the honest and transparent support they deserve. If you have any questions or concerns, please reach out
  to ptklawsuit@gmail.com.

  Let us stand united in this fight for justice and integrity.

  sincerely,


  HonorSociety Museum




  Public Service Announcement: Protecting Students and Community Colleges

  This announcement aims to safeguard students and community colleges from deceptive practices. Please note, this website is not affiliated with Phi Theta Kappa.

  Allegations indicate that PTK CEO Lynn Tincher-Ladner orchestrated these deceptive practices against community college students and institutions. Accountability is essential.
  For comprehensive information on the PTK lawsuit, visit PTK Lawsuit.




  QO COMMENTS ON “PHI THETA KAPPA ALERT:                                        IS PTK       WORTH         IT AT
  JACKSON COLLEGE, CENTRAL CAMPUS?”




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Document title:                  Lynn Tincher-Ladner & Phi Theta Kappa Are Sued for False Advertising: What You
                                 Need to Know - College Budget

Capture URL:                     https://collegebudget.com/2024/05/21/lynn-tincher-ladner-phi-theta-kappa-are-sued-
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     plaintiffs in this litigation, Litigation is still ongoing and all claims made regarding this case are just allegations against the parties.

     False Advertising & Attempted Monopolization Highlight the
     Alleged Claims Against Tincher-Ladner.
      Ina significant development to protect community colleae students, Honor Society has filed a federal lawsuit




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     Dress Infringement, ana Unfair Competition. Honor Society and Michaet Moradian countersued and are presently defenaants/counter-
    plaintiffs in this Case
                       litigation, 3:22-cv-00208-CWR-RPM
                                   Litigation is still ongoing and all claims made regarding this case are just
                                                                                        Document                allegations against
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                                                                                                                                       parties   Page 120 of 133

     False Advertising & Attempted Monopolization Highlight the
     Alleged Claims Against Tincher-Ladner.
     Ina significant development to protect community college students, Honor Society has filed a federal lawsuit
     against Lynn Tincher-Ladner, CEO of Phi Theta Kappa (PTK). The lawsuit, initiated in the Southern District of
     Mississippi, brings forward serious allegations of deceptive practices and monopolistic behavior under Tincher-
     Ladner’s leadership. For students, parents, and educators, these claims warrant close attention.

     Key Allegations Against Lynn Tincher-Ladner
     False “Top 10%” Claims: Under Tincher-Ladner's leadership, PTK is accused of misleading students by falsely
     claiming they are in the top 10% of their class to entice them to pay membership fees. At some colleges, a much
     higher percentage of students qualify, raising concerns about the accuracy and ethics of these claims.
     Questionable Letters of Recommendation: The lawsuit alleges that PTK, under Tincher-Ladner's direction,
     issues letters of recommendation stating that members are in the top 10% of their class, often without any
     factual basis. This could potentially mislead students, colleges, and employers about the actual merit of PTK
     membership.
     Misleading Scholarship Information: PTK promotes access to $246 million in scholarships as an exclusive
     benefit of membership. However, these scholarships are generally available to all students. Additionally, PTK
     claims that the “average member gets $2,500 a year” in transfer scholarships, which the lawsuit argues is
     misleading and deceptive.

     Privacy Concerns
     The lawsuit also addresses issues of privacy, accusing PTK under Tincher-Ladner's leadership of selling and
     sharing member data under false pretenses. This raises significant ethical questions about how PTK manages
     personal information and the integrity of its practices.
     Anticompetitive Conduct
     Tincher-Ladner is further accused of engaging in monopolistic behavior to dominate the community college
     honor society market. This includes allegedly deceptive marketing tactics and claims intended to stifle
     competition and limit student options, all orchestrated to maintain PTK’s market dominance.

     Impact on Students
     For current and prospective members of PTK, these allegations are crucial. Understanding the true value and
     ethics of the organizations you join is essential. The lawsuit highlights the importance of transparency and
     honesty in honor societies, which should recognize academic excellence without misleading students or
     exploiting their aspirations.

     Call to Action
     If students feel they have been misled by PTK or have encountered any related issues, it is important to speak
     out. Honor Society encourages affected individuals to share their experiences and seek justice. Students can
     contact their state attorney general's office or the Better Business Bureau if they believe they have been misled
     by PTK.
     For more details about the lawsuit and to join the conversation, visit www.ptklawsuit.com and use the hashtag
     #PTKlawsuit on social media.

     Commentary from College Budget
     At College Budget, we believe this lawsuit is more than just a legal battle; it serves as a crucial reminder of the




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    For more details
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                           the lawsuit and to join the conversation, Document
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                                                                                                use the12/09/24
                                                                                                        hashtag                        Page 121 of 133
     #PTKlawsuit on social media.

     Commentary from College Budget
     At College Budget, we believe this lawsuit is more than just          a legal battle; it serves as a crucial reminder of the
     need for accountability and integrity in academic honor societies. The allegations against Lynn Tincher-Ladner
     and PTK underscore the importance of transparent and honest practices within such organizations. As this case
     unfolds, we will continue to monitor developments and provide updates to ensure that students and their
     families are informed and protected.

     Have thoughts on this issue? Share your comments below and let us know how you feel about these
     allegations against Lynn Tincher-Ladner and PTK.



     Related
     Phi Theta Kappa Lawsuit: What You          Is Theta Alpha Kappa Worth it? Dues,       Is Phi Alpha Theta Worth it? Dues, Costs,
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    Golden Key

    High School Honor Societies




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    Golden Key

    High School Honor Societies

    Honor Societies

    Kappa Mu Epsilon

    Kappa Omicron Nu

    Kappa Tau Alpha

    Lambda Pi Eta

    Lambda Sigma

    Mortar Board

    Mu Kappa Tau

    NSCS

    Omega Chi Epsilon

    Omega Rho

    Omicron Delta Epsilon

    Omicron Delta Kappa

    Order of Omega

    Phi Alpha

    Phi Alpha Theta

    Phi Beta Delta

    Phi Beta Kappa

    Phi Eta Sigma

    Phi Kappa Phi

    Phi Lambda Sigma

    Phi Sigma

    Phi Sigma lota

    Phi Sigma Tau

    Phi Upsilon Omicron

    Pi Delta Phi




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    Phi Sigma Tau Case 3:22-cv-00208-CWR-RPM                         Document 328-1               Filed 12/09/24           Page 125 of 133

    Phi Upsilon Omicron

    Pi Delta Phi

    Pi Gamma Mu

    Pi Kappa Lambda

    Pi Mu Epsilon

    Pi Omega Pi

    Pi Sigma Alpha

    Pi Tau Sigma

    Pi Theta Epsilon

    Psi Beta

    Psi Chi

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    Rho Kappa

    Sigma Beta Delta

    Sigma Delta Pi

    Sigma Lambda Alpha

    Sigma Lambda Chi

    Sigma Pi Sigma

    Sigma Tau Delta

    Sigma Theta Tau

    Sigma Xi

    Student Loans

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    Tau Beta Pi

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    Tau Alpha Pi

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   aa Phi Theta Kappa Caution                                                                                                               ~
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  Chapter at Carrington                                                                                                                      nec
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                                                                                                                                             April 2019
  Disclaimer: The author of this article is not a neutral party in the referenced litigation. HonorSociety.org Inc., Honor Society           February 2019
  Foundation Inc., and its president Michael Moradian were sued in federal court by PTK on April 20, 2022 for False Designation
  of Origin, Trade Dress Infringement, and Unfair Competition. Honor Society and Michael Moradian countersued and are
  presently defendants/counter-plaintiffs in this litigation. Litigation is still ongoing and all claims made regarding this case are        F}sCATEGORIES
  just allegations against the parties.



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of Origin, Trade Dress Infringement, and Unfair Competition. Honor Society and Michael Moradian countersued and are
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 Important Update for Students at the
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 Carrington College, San Leandro                                                                                                         Alpha Omega Alpha
                                                                                                                                         Blog

 Campus: Be Aware!
                                                                                                                                         Collections
                                                                                                                                         Dartmouth
                                                                                                                                         Harvard
  Dear Carrington College, San Leandro Campus Community,                                                                                 High School
                                                                                                                                         Historical
  We are reaching out to alert you to some serious concerns involving Phi Theta Kappa (PTK), an honor society across
                                                                                                                                         History
  many community colleges. A lawsuit has been filed against PTK, unveiling disturbing allegations of false advertising                   Honor Society
  and monopolistic practices that demand our attention.                                                                                  Honor Society Foundation Books
                                                                                                                                         HonorSociety.Org
                                                                                                                                         Inclusivity
  KEY ALLEGATIONS AGAINST PTK                                                                                                            Iowa State
  PTK stands accused of falsely advertising that its members are in the “Top 10%” of their class. Investigations have                    Junior High School
  revealed that the actual percentage of students who qualify is significantly higher, misleading students about the                     Key
  exclusivity and prestige of their membership. PTK has also been alleged to make misleading scholarship claims.                         Member Trips
  They suggest that members have exclusive access to $246 million in scholarships and that the average member                            National Honor Society
  receives $2,500 per year. However, many of these scholarships are not exclusive to PTK members; they are available                     Phi Beta Kappa
  to all students. This false exclusivity misleads students into believing they will receive unique financial benefits by
                                                                                                                                         PTK Lawsuit
  joining PTK.
                                                                                                                                         Ptklawsuit
                                                                                                                                         Regalia
  Moreover, PTK has allegedly engaged in monopolistic practices, including aggressive tactics to dominate the honor
                                                                                                                                         Sigma Xi
  society market and the unauthorized sale of members’ personal information. The leadership of PTK, particularly
  CEO Lynn Tincher-Ladner, has come under scrutiny, raising urgent questions about accountability and                                    Societies
  transparency within the organization.                                                                                                  stanford
                                                                                                                                         Uncategorized
                                                                                                                                         University
  CALL TO ACTION: PROTECT OUR STUDENTS                                                                                                   vanderbilt
  ‘We urge you to stay informed and take action to protect our community from these deceptive practices. It is crucial
  that we work together to ensure transparency and integrity in all educational organizations.
                                                                                                                                       META
  Steps You Can Take:
                                                                                                                                         Log in
      Educate Yourself: Familiarize yourself with the details of the lawsuit against PTK and understand the potential                    Entries feed
      impact on our students.
                                                                                                                                         Comments feed
   2, Spread the Word: Inform your peers about the issues associated with PTK and encourage them to stay vigilant.
                                                                                                                                         WordPress.org
      Advocate for Change: Demand greater transparency and accountability from PTK’s leadership, including Lynn
      Tincher-Ladner.


  For further information and to support efforts for justice and transparency, please visit the following resources:
                                                                                                                                          SEARCH

     PTK Lawsuit Articles
     PTK Lawsuit: Deceptive Practices and Attempted Monopoly
     Lynn Tincher-Ladner’s PTK Compensation Salary Review                                                                                                Phi Theta Kappa



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      PTK Lawsuit Articles
      PTK Lawsuit: Deceptive Practices and Attempted Monopoly
      Lynn Tincher-Ladner’s PTK Compensation Salary Review                                                                               EBPhi Theta        Kappa
  By standing together, we can protect our students from misleading practices and ensure that they receive the honest                    Caution Advised: Beta
  support they deserve. If you have any questions or concerns, please contact PTKlawsuit@gmail.com.                                      Delta Psi Chapter at De
                                                                                                                                         Moines Are:
  Let’s unite for transparency and justice.
                                                                                                                                         Community College,
                                                                                                                                         Urban Campus




 Sincerely,                                                                                                                             EXphi Theta Kappa
                                                                                                                                         Caution Advised: Beta
  HonorSociety Museum                                                                                                                    Omicron Chi Chapter at
                                                                                                                                        Yuba College, Marysville
                                                                                                                                         Campus
                                                                                                                                         5 june 22, 2024


                                                                                                                                         EXphi Theta Kappa
  Public Service Announcement: Protect Students and Community Colleges                                                                   Caution Advised: Alpha

                                                                                                                                         Alpha Zeta Chapter at
  This announcement aims to safeguard students and community colleges from deceptive practices. Please note, this                        Copiah-Lincoln
  website is not affiliated with PTK Beta Phi Alpha Chapter Chapter nor Phi Theta Kappa.                                                 Community Colles
                                                                                                                                         Natchez Campus
                                                                                                                                         5 JUNE 22, 2024
  Allegations indicate that PTK CEO Lynn Tincher-Ladner orchestrated these deceptive practices against community
  college students and institutions. Accountability is essential. For comprehensive information on the PTK lawsuit,
  visit PTK Lawsuit.
                                                                                                                                            Phi Theta Kappa
                                                                                                                                        Caution Advised: Alpha
                           Honor Society Museum                                                                                          Xi Psi Chapter at
                                                                                                                                         Nashville State
                           See Full Bio >                                                                                                Community Coleg
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          LAMBDA GAMMA CHAPTER AT SUNY                                  PSI DELTA CHAPTER AT PIERCE COLLEGE,
          COBLESKILL, MAIN CAMPUS                                                           PUYALLUP CAMPUS



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  Comments are closed.                                                                                                      Junior High School
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                                                                                                                         WE ARE SOCIAL!


                                                                                                                         Connect with Honor Society Museum on
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